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 7
 8                  IN THE UNITED STATES DISTRICT COURT FOR THE
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )   1:06-CR-00342 OWW
                                           )
12               Plaintiff,                )
                                           )
13        v.                               )   FINAL ORDER OF FORFEITURE
                                           )
14   LUCKY BOISIERRE,                      )
                                           )
15               Defendant.                )
                                           )
16                                         )
                                           )
17
18        WHEREAS, on May 28, 2008, this Court entered a Preliminary Order
19   of Forfeiture pursuant to the provisions of 21 U.S.C. § 853, based upon
20   the plea agreement entered into between plaintiff and defendant Lucky
21   Boisierre forfeiting to the United States the following property:
22             a.     Approximately $9,000.00 of the $18,500.00 in
                      U.S. Currency;
23
24        AND WHEREAS, on June 11, 18, and 25, 2008, the United States
25   published notice of the Court’s Order of Forfeiture in the Modesto Bee
26   (Stanislaus County), a newspaper of general circulation located in the
27   county in which the above-listed property was seized.          Said published
28   notice advised all third parties of their right to petition the Court

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 1   within thirty (30) days of the publication date for a hearing to
 2   adjudicate the validity of their alleged legal interest in the forfeited
 3   property;
 4        AND WHEREAS, the Court has been advised that no third party has
 5   filed a claim to the subject property and the time for any person or
 6   entity to file a claim has expired.
 7        Accordingly, it is hereby ORDERED and ADJUDGED:
 8        1.     A Final Order of Forfeiture shall be entered forfeiting to the
 9   United States of America all right, title, and interest in the above-
10   listed property pursuant to 21 U.S.C. § 853, to be disposed of according
11   to law, including all right, title, and interest of Lucky Boisierre.
12        2.     All right, title, and interest in the above-listed property
13   shall vest solely in the name of the United States of America.
14        3.     The United States Marshals Service shall maintain custody of
15   and control over the subject property until it is disposed of according
16   to law.
17        4.     Within forty-five (45) days from entry of a Final Order of
18   Forfeiture forfeiting the above-listed property, the United States
19   Marshals Service shall return the following to Lucky Boisierre through
20   his attorney Percy Martinez:
21               a.   Approximately $9,500.00 of the $18,500.00 in U.S.
                      Currency.
22
      IT IS SO ORDERED.
23
     Dated: August 6, 2008                  /s/ Oliver W. Wanger
24   emm0d6                            UNITED STATES DISTRICT JUDGE
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